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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS

DEBORAH LAUFER,
         Plaintiff,
v.                                                        Case No: 1:20-cv-3527

U.L.S.T., LLC dba WATERFRONT
HOTEL & MARINA,
             Defendant.

           STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


     1.     My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I

            am unable to engage in the major life activity of walking more than a few steps

            without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

            a cane or other support and have limited use of my hands. I am unable to tightly

            grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

            ambulating beyond the comfort of my own home, I must primarily rely on a

            wheelchair. I require accessible handicap parking spaces located closet to the

            entrances of a facility. The handicap and access aisles must be of sufficient width

            so that I can embark and disembark into a vehicle. Routes connecting the

            handicap spaces and all features, goods and services of a facility must be level,

            properly sloped, sufficiently wide and without cracks, holes or other hazards that

            can pose a danger of tipping, catching wheels or falling. These areas must be free

            of obstructions or unsecured carpeting that make passage either more difficult or

            impossible. Amenities must be sufficiently lowered so that I can reach them. I

            have difficulty operating door knobs, sink faucets, or other operating mechanisms


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                                                                                     EXHIBIT A
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         that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that

         have unwrapped pipes, as such pose a danger of scraping or burning my legs.

         Sinks must be at the proper height so that I can put my legs underneath to wash

         my hands. I require grab bars both behind and beside a commode so that I can

         safely transfer and I have difficulty reaching the flush control if it is on the wrong

         side. I have difficulty getting through doorways if they lack the proper clearance.

         To use a pool, I require a lift or other accessible means. When sleeping in a guest

         room, I need a compliant tub or shower with required grab bars and a shower seat.

  2.     When looking at a hotel online reservation system, I need information so that I

         can ascertain whether or not the hotel and its guest rooms are accessible to me.

         This includes information whether the conditions referenced above are compliant.

  3.     In the past, I have observed that the vast majority of hotel online reservations

         systems do not allow for booking of accessible rooms or provide the information I

         need to make an informed choice. I have also booked a room at hotels whose

         websites claim they are “accessible”, only to find that this claim is untrue.

         Therefore, I cannot make plans to travel if I intend to stay in an accessible room at

         an accessible hotel. The failure of so many hotels to comply with the law in this

         regard deter me from making travel plans. Therefore, I am an advocate on behalf

         of both myself and other similarly situated disabled persons and consider myself a

         tester. As a tester, I visit hotel online reservations systems to ascertain whether

         they are in compliance with the Americans With Disabilities Act. In the event that

         they are not, I request that a law suit be filed to bring the website into compliance


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         with the ADA so that I and other disabled persons can use it. If a law suit is filed

         to bring the website into compliance, I frequently revisit the website to ascertain

         whether or not it has been made accessible with the information required by law.

         With respect to each law suit I file, I subsequently revisit each website because

         that is my system.

  5.     I have plans to travel to Illinois as soon as the Covid crisis is over and it is safe to

         travel. I intend to travel all throughout the State, including the areas North of

         Chicago and the Pistakee/Fox Lake area near Johnsburg, and I need to stay in

         hotels when I go. Because the Defendant’s hotel and so many other hotel websites

         fail to allow for booking of accessible rooms and fail to provide sufficient

         information about whether or not the hotels’ features are accessible, it makes it

         extremely difficult for me to make any meaningful choice because I am deprived

         of the information I need to make my plans.

  6.     Rooms for the Waterfront Hotel & Marina , 3309 N Chapel Hill Rd, Johnsburg,

         Illinois, can be booked through an online reservations system. Prior to filing this

         lawsuit, on 6.3.20, 6.5.20, 6.6.20, 6.7.20, 6.21.20, I visited the online reservation

         system for the Defendant’s hotel for the purpose of reviewing and assessing the

         accessible features at the hotel and ascertain whether the websites contain the

         information required by 28 C.F.R. Section 36.302(e) and adequately informs me

         as to whether the hotel meets my accessibility needs. I was in my own home in

         Pasco County when I visited these websites. However, I was unable to do so

         because Defendant failed to comply with the requirements set forth in 28 C.F.R.


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         Section 36.302(e). As a result, I was deprived the same services available to the

         general public. The websites do not identify any accessible rooms, provide for

         booking of accessible rooms or contain any information as to whether any rooms

         or features at the hotel are accessible. In my experience, I have found that third

         party websites are sometimes compliant by identifying and allowing for booking

         of accessible rooms and providing ample information about accessibility. I can

         therefore only conclude that, when a third party reservations system is not

         compliant, it is because the hotel did not provide the required information.

  7.     When I encountered the above conditions, I suffered humiliation and frustration at

         being treated like a second class citizen, being denied equal access and benefits to

         the goods, facilities, accommodations and services. I am deterred from returning

         to the websites because I understand that it would be a futile gesture to do so

         unless I am willing to suffer further discrimination. I am aware that defendant

         segregates against me and other disabled persons by offering them one service: me

         a lesser service.. I am aware that I am being deprived the equality of opportunity

         afforded to non-disabled persons to utilize the online reservation system free of

         discrimination. I am also aware that my ability to travel free of discrimination and

         with equal access to information offered to the general public is diminished.

         Failure of the hotel to have a compliant reservations system impedes my ability to

         make a meaningful choice in planning my trip.

  8.     Despite the above, I plan to again review the websites in the near future. I have a

         system whereby I always revisit the websites of every hotel I sued. In this regard,


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               I maintain a list of each hotel I have sued. I constantly go through this list and add

               to it. With respect to each hotel I sue, I shortly thereafter revisit the hotel’s online

               reservations system. Once a case is settled, I mark the date on my list when the

               defendant has agreed to fix its websites. When that date arrives, I revisit it again

               and record my visits. Thus, I revisit each hotel’s online reservations system at

               least two times after a lawsuit is filed. Pursuant to this system, I have already

               revisited the online reservations system for this hotel on 6.21.20.

Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

       8.11.20
Date: _________                                __________________________________
                                                       DEBORAH LAUFER




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